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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

RAVEN’S PLACE, LLC, et al.

Plaintiffs,
                                                  Case No. 23-cv-00728
v.

CITY OF BLUE ISLAND, an Illinois                  Judge Mary M. Rowland
Municipal Corporation, and FRED
BILOTTO, in his individual capacity
and as Mayor of the City of Blue Island

Defendants.


                        MEMORANDUM OPINION AND ORDER

            Plaintiff Raven’s Place LLC (d/b/a “Raven’s Place” and “The Vault

Entertainment Group”), a Black-owned bar located in Blue Island, and its owner,

Dushone Thomas, and manager, Raymond Thomas (collectively “Plaintiffs”), brought

claims against the City of Blue Island. Plaintiffs assert due process and equal

protection claims under the U.S. and Illinois constitutions, a claim for declaratory

judgment, and various tort claims. Before this Court is Defendants’ motion to dismiss

the First Amended Complaint. [70]. For the reasons explained below, this Court

grants in part Defendants’ motion to dismiss.

       I.      Background

            The following factual allegations taken from the First Amended Complaint

([64]), the operative complaint, are accepted as true for the purposes of the motion

to dismiss. See Lax v. Mayorkas, 20 F.4th 1178, 1181 (7th Cir. 2021). The Court

incorporates the Background section of its Memorandum Opinion and Order [29]


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granting in part and denying in part Defendants’ Motion to Dismiss the Complaint

[16].

        Plaintiffs owned and operated Raven’s Place and the Vault, two

establishments licensed to serve a full liquor bar, in Blue Island, Illinois. [64] ¶¶ 4–

6, 19. Following a “criminal incident” outside the Vault, Blue Island suspended its

liquor license. Id. ¶¶ 21, 29. In lieu of a hearing before the liquor commission, Blue

Island and Plaintiffs entered into a settlement agreement that laid out certain

mandatory conditions for the Vault and Raven’s Place to operate (the “Settlement

Agreement”). Id. ¶¶ 28, 30. After a shooting in the vicinity of Raven’s Place, Blue

Island revoked Raven’s Place’s liquor license, but the bar continued to operate

pending an appeal. Id. ¶¶ 50–51, 53, 58. Following a subsequent shooting in the area

on January 1, 2023, Blue Island revoked Plaintiffs’ retail liquor licenses and

business license. [70-1] City of Blue Island’s Findings, Decision, and Order

Regarding Raven’s Place LLC’s Business License, dated January 10, 2023, at 36–38;

id. City of Blue Island Liquor License Commissioner’s Findings, Decision, and Order

Regarding Raven’s Place LLC’s Liquor Licenses, dated January 10, 2023, at 40–51.

        On January 6, 2023, Plaintiffs brought suit against Blue Island in Cook

County Circuit Court. See [1]. The complaint asserted claims for violation of

Plaintiff’s substantive due process and equal protection rights under the U.S.

Constitution (Count I) and Plaintiffs’ right to due process and equal protection under

the Illinois constitution (Count II). [1]. On February 6, 2023, Defendants removed

the case to federal court. Id. On Defendants’ motion, this Court dismissed Plaintiffs’




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federal and state due process claim and any claims against Blue Island’s mayor,

Defendant Bilotto in his individual capacity. [29].

      Meanwhile, the parties are litigating the revocation of Plaintiffs’ business and

liquor licenses in state court. On February 3, 2023, Raven’s Place filed a complaint

in the Cook County Circuit Court for administrative review of the revocation of its

business license. [70-1] Complaint for Administrative Review, Raven’s Place v. Blue

Island, et al., 2023CH01090 (“CC Complaint I”) at 29–34. Raven’s Place requested

review of the revocation of its business license and sought a reversal of the

revocation order. Id. ¶¶ 22, 33. On June 9, 2023, the Cook County Circuit Court

denied Raven’s Place’s complaint for administrative review. [70-1] Order, Raven’s

Place v. Blue Island, et al., 2023CH01090 at 69–75. The court held the revocation

decision was not contrary to the manifest weight of evidence and the introduction of

hearsay testimony at the revocation proceedings did not violate the procedural due

process rights of Raven’s Place. Id. at 72–75. Raven’s Place has appealed the

administrative review decision affirming the revocation. [70-1] Notice of Appeal,

Raven’s Place v. Blue Island, et al., 2023CH01090 at 100–76. The appeal currently

is pending. [70] at 6.

      On July 19, 2023, Raven’s Place filed another complaint in the Cook County

Circuit Court, this time requesting administrative review of the Illinois Liquor

Control Commission’s decision to uphold Blue Island’s revocation of Raven’s Place’s

liquor licensure. [70-1] Complaint for Administrative Review, Raven’s Place v. Blue

Island, et al., 2023CH06648 ((“CC Complaint II”) at 180–86. Raven’s Place again




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sought a reversal of the revocation order. Id. at 186. The Cook County Circuit Court

denied Raven’s Place’s complaint for administrative review and the matter is

currently on appeal. See [70] at 6–7.

          On November 18, 2024, Defendants moved to dismiss on the grounds that

Plaintiffs’ claims are barred by res judicata or, in the alternative, Rooker-Feldman.

[59]. The Court granted Plaintiffs’ motion leave to amend the initial complaint ([61])

and Plaintiffs filed the First Amended Complaint (64]). Plaintiffs reasserted the

same claims as set forth in the initial complaint 1, amended their factual allegations,

and alleged new counts for declaratory judgment as well as defamation and tortious

interference with contract. See [64]. The tort claims stem from a fire that occurred

near Raven’s Place on September 7, 2023. Id. ¶ 109. Plaintiffs allege Blue Island

officials accused Raven’s Place manager, Plaintiff Raymond Thomas, of facilitating

the fire Id. ¶ 124.

          Before the Court now is Defendants’ motion to dismiss the First Amended

Complaint under Rules 12(b)(1) and 12(b)(6).

    II.     Legal Standard

     Federal Rule of Civil Procedure 12(b)(1) permits the dismissal of complaints over

which the court may not exercise subject matter jurisdiction. See Fed. R. Civ. P.

12(b)(1). In evaluating a motion under Rule 12(b)(1), the court must first determine




1 Plaintiff realleged their federal and state due process claims, which this Court previously dismissed.

See [29]. The First Amended Complaint acknowledges the state due process claim was dismissed and
states it is “[r]alleged for purposes of appeal.” [64] at 28. Thus, the Court understands Plaintiffs did
not reallege their state due process claim as a “live” count in this litigation. Defendants did not move
to dismiss Plaintiffs’ previously dismissed claims. See [70].


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whether the defendants raise a factual or facial challenge to subject matter

jurisdiction. See Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015 (citing Apex

Digital, Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009)). A facial

challenge argues that the plaintiff has not sufficiently alleged a basis for subject

matter jurisdiction, while a factual challenge contends that even if the pleadings are

sufficient there is in fact no subject matter jurisdiction. Id. Here, Defendants assert

a factual challenge. In this context, the Court may look beyond the pleadings and

view any competent proof submitted by the parties to determine if the plaintiff has

established subject matter jurisdiction by a preponderance of the evidence. See id.

at 173. If a “complaint is facially sufficient but external facts call the court’s

jurisdiction into question, we ‘may properly look beyond the jurisdictional

allegations of the complaint and view whatever evidence has been submitted on the

issue to determine whether in fact subject matter jurisdiction exists.’” Taylor v.

McCament, 875 F.3d 849, 853 (7th Cir. 2017) (quoting Apex Digital, 572 F.3d at 444).

When faced with a Rule 12(b)(1) motion, the plaintiff bears the burden of proving

that the court has jurisdiction. See Apex Digital, 572 F.3d at 443.

    The Court assumes the parties’ familiarity with its explanation of the standards

for Rule 12(b)(6) motions set forth in its first motion to dismiss opinion. See [29] at

4–5.

   III.     Analysis

          Defendants moved to dismiss the First Amended Complaint pursuant to Rule

12(b)(1) and 12(b)(6). [70].




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               A.        Defendants’ Rule 12(b)(1) Motion

        Where, as here, a defendant’s motion to dismiss is based on a lack of subject

matter jurisdiction pursuant to Rule 12(b)(1), as well as other Rule 12(b)(6) defenses,

the court should consider the Rule 12(b)(1) challenge before reviewing the merits of

any claim. Jakupovic v. Curran, 850 F.3d 898, 902 (7th Cir. 2017) (“We are required

to consider subject-matter jurisdiction as the first question in every case, and we must

dismiss this suit if such jurisdiction is lacking.”) (quoting Aljabri v. Holder, 745 F.3d

816, 818 (7th Cir. 2014)). Defendants argue the Court lacks jurisdiction under the

Rooker-Feldman doctrine, or alternatively, pursuant to res judicata.

                    1.     Rooker Feldman Doctrine

        Defendants assert this Court lacks subject matter jurisdiction over this dispute

pursuant to the Rooker-Feldman doctrine. [70] at 16–20. The doctrine bars lower

federal courts from reviewing and reversing state court judgments. Rooker v. Fidelity

Trust Co., 263 U.S. 413, 415–16 (1923); District of Columbia Ct. of Appeals v.

Feldman, 460 U.S. 462, 482 (1983). They contend Plaintiffs’ claims in the instant case

are “inextricably intertwined” with the Cook County Circuit Court judgments and are

barred by the Rooker-Feldman doctrine. Plaintiffs disagree that Rooker-Feldman

applies here for two reasons: (i) the doctrine does not apply to monetary damages

claims; and (ii) Defendants have not established the elements of the doctrine. [78] at

6–11.

        The Rooker-Feldman doctrine prevents a losing party in state court from

“complaining of injuries caused by state-court judgments rendered before the district




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court proceedings commenced and inviting district court review and rejection of those

judgments.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005).

Lower federal courts are not vested with appellate authority over state courts. Sykes

v. Cook Cty Cir. Ct. Probate Div., 837 F.3d 736, 741 (7th Cir. 2016). Rather, “the

Supreme Court of the United States is the only federal court that may review

judgments entered by state courts in civil litigation.” Harold v. Steel, 773 F.3d 884,

885 (7th Cir. 2014). The rationale for the Rooker-Feldman doctrine is that “no matter

how wrong a state court judgment may be under federal law, only the Supreme Court

of the United States has jurisdiction to review it.” Sykes, 837 F.3d at 742.

       The Seventh Circuit recently affirmed the narrowness of the Rooker-Feldman

doctrine. 2 Gilbank v. Wood Cnty. Dep’t of Hum. Servs., 111 F.4th 754, 765–66 (7th

Cir. 2024) (explaining “Rooker-Feldman must stay in its lane”), cert. denied, 145 S.

Ct. 1167 (2025); Shophar v. Pathway Fam. Servs., LLC, No. 22 CV 02333, 2024 WL

3950215, at *4 (N.D. Ill. Aug. 27, 2024). As interpreted by the Seventh Circuit, the

doctrine only applies when five elements are present: (i) the federal plaintiff must

have been a state-court loser; (ii) the state-court judgment must have been become

final before the federal proceedings began; (iii) the state-court judgment must have

caused the alleged injury underlying the federal claim; (iv) the claim must invite the

federal district court to review and reject the state-court judgment; and (v) the federal

plaintiff had a reasonable opportunity to raise his federal issue in the state courts.


2 Contrary to Defendants’ arguments ([86] at 3–4), Gilbank is the controlling law in this circuit on

Rooker-Feldman. See Motykie v. Motykie, No. 24-2676, 2025 WL 1111667, at *1 (7th Cir. Apr. 15, 2025)
(“[The Seventh Circuit’s] decision in Gilbank controls the scope and application of the Rooker-Feldman
doctrine in this circuit.”).


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Gilbank, 111 F.4th at 766. “[I]dentifying what the plaintiff has requested is the key

Rooker-Feldman inquiry” and the doctrine will “not apply when, given the relief

sought, a plaintiff . . . does not seek to reverse a state court judgment.” Id. at 793.

      Defendants claim this Court would need to overturn the state court’s ruling

that the Settlement Agreement was valid and Blue Island’s reliance on the same to

revoke Plaintiffs’ business and liquor licenses was acceptable to reach the merits of

this case. [70] at 18. They argue Plaintiffs’ federal claims are “inextricably

intertwined” with the state court judgments denying review of the revocation of

Plaintiffs’ licenses or at minimum indirectly challenge the state judgments. Id. If

Plaintiffs succeed on appeal, Defendants assert, the constitutional claims will remain

before the state court. Id. at 18–19.

      Plaintiffs dispute that the Rooker-Feldman doctrine precludes this suit

because the doctrine does not apply where a plaintiff is seeking monetary damages

rather than asking a federal court to directly nullify a state court order. [78] at 6

(citing Gilbank, 111 F.4th at 792 (holding on damage claims set forth in Part I of

opinion by Kirsch, J., joined in relevant part by Easterbrook, J.)). Here, Plaintiffs

request monetary damages for all of their claims except their declaratory judgment

claim. See [64] ¶¶ 191, 227, 236, 248, 262, 288. Plaintiffs also argue the doctrine does

not apply for the following reasons: (i) the state court actions remain pending in the

state appellate courts; (ii) the federal claims preceded the state actions; (iii) the

federal claims are independent of the state claims; (iv) review of the federal claims

would not reverse a state court judgment; and (v) Plaintiffs were not able to litigate




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their discrimination claims in state court. [78] at 5–10.

      The Rooker-Feldman doctrine does not bar Plaintiffs’ claims. “Timing is

everything under Rooker-Feldman.” Stewart v. JPMorgan Chase Bank, N.A., 716 F.

Supp. 3d 677, 688 (N.D. Ill. 2024). The doctrine only precludes federal jurisdiction

over cases “brought by state-court losers complaining of injuries caused by state-court

judgments rendered before the district court proceedings commenced.” Exxon Mobil,

544 U.S. at 284 (emphasis added); Truserv Corp. v. Flegles, Inc., 419 F.3d 584, 591

(7th Cir.2005) (explaining Rooker-Feldman “only applies to cases . . . where the losing

party in state court filed suit in federal court after the state proceedings ended.”)

(internal quotation omitted and emphasis added).

      Here, Plaintiffs are not “state court losers” who initiated this suit in federal

court to reverse a state court judgment. Rooker-Feldman only applies when a federal

lawsuit begins after a state court case ends. That did not happen here. This case

began before Plaintiffs even initiated the pending state court suits. Neither the First

Amended Complaint nor the state court filings submitted in support of Defendants’

motion support that the state-court judgments related to Plaintiffs’ constitutional

allegations concluded before this case was initiated.

      Plaintiffs filed this lawsuit alleging violations of the due process and equal

protection rights under the U.S. and Illinois constitutions in the Cook County Circuit

Court on January 6, 2023. [1] at 6. Defendants removed the case from state court to

the Northern District of Illinois on February 6, 2023. See [1]. It is undisputed this

case pre-dates Blue Island’s decision to revoke Raven’s Place LLC’s business license




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and retail liquor licenses—order entered January 10, 2023. [70-1] City of Blue

Island’s Findings, Decision, and Order Regarding Raven’s Place LLC’s Business

License, dated January 10, 2023, at 36–38; id. City of Blue Island Liquor License

Commissioner’s Findings, Decision, and Order Regarding Raven’s Place LLC’s Liquor

Licenses, dated January 10, 2023, at 40–51. Likewise, this case pre-dates Plaintiffs’

complaint for administrative review of the revocation of their business license—filed

February 3, 2023 in the Cook County Circuit Court ([70-1] CC Complaint I at 29–

34)—and Plaintiffs’ complaint for administrative review of the revocation of their

liquor licenses—filed July 19, 2023 in the Cook County Circuit Court ([70-1] CC

Complaint II at 180–86). Defendants do not address this timing issue. 3

        Accordingly, Plaintiffs were not state court losers when they brought this suit

and this action is not barred by Rooker-Feldman. J.B. v. Woodard, 997 F.3d 714, 722–

23 (7th Cir. 2021) (finding a plaintiff who filed his federal lawsuit while the state

court’s proceedings were ongoing was “not a state-court loser” and thus his claims not

barred by Rooker-Feldman); Kowalski v. Boliker, 893 F.3d 987, 995 (7th Cir. 2018)

(explaining that Rooker-Feldman does not apply if “the state court had not rendered

a judgment before the district court proceedings began”); Parker v. Lyons, 757 F.3d



3 Although Defendants do not argue Blue Island’s October 2022 revocation of Raven’s Place’s liquor

license is a final judgment entered before this federal suit was initiated, they present those facts in
the background of their motion. See [70] at 6. Accordingly, the argument is waived. See United States
v. Adamson, 441 F.3d 513, 521 n. 2 (7th Cir. 2006). Even if Defendants did make that argument, that
would not change the outcome of this analysis. “[T]he Rooker-Feldman doctrine is concerned only with
state court determinations, it presents no jurisdictional obstacle to judicial review of executive action,
including decisions made by state administrative agencies.” Gilbert v. Ill. State Bd. of Educ., 591 F.3d
896, 900 (7th Cir. 2010) (citing Verizon Md. Inc. v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 644 n.3
(2002)); see also Hemmer v. Ind. State Bd. of Animal Health, 532 F.3d 610, 614 (7th Cir. 2008) (finding
that the Rooker-Feldman doctrine did not bar the claims of a plaintiff who lost in state agency
proceedings).


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701, 705–06 (7th Cir. 2014), overruled on other grounds by Hadzi-Tanovic v. Johnson,

62 F.4th 394, 402 (7th Cir. 2023) (“Since [Exxon Mobile], all federal circuits that have

addressed the issue have concluded that Rooker-Feldman does not apply if, as here,

a state-court appeal is pending when the federal suit is filed.”); see also See Gilbank,

111 F.4th at 795 (“When the Supreme Court tells us that a rule applies only when

four elements are met, we do not read one of those requirements as superfluous.”).

      This case may seem like the sort of case where the Rooker-Feldman doctrine

should apply. But the sine qua non of Rooker-Feldman is a state court judgment. The

doctrine is intended to prevent parties from running to federal court to challenge an

injury caused by state court judgment. If there is no state-court judgment when the

federal suit is filed, the federal plaintiff cannot be complaining of an injury caused by

a nonexistent state-court judgment.” 18 James Wm. Moore et al., Moore’s Federal

Practice § 133.33[2][c][i] (3d ed. 2023). Accordingly, Plaintiffs’ claims do not invite the

Court to “undo, reverse, or overturn [a] state court judgment” and do not implicate

the Rooker-Feldman doctrine. See Gilbank, 111 F.4th at 795.

                  2.     Res Judicata

      Defendants alternatively contend res judicata bars Plaintiffs’ claims. [70] at

13–16. Res judicata is an affirmative defense. Fed. R. Civ. P. 8(c); see also U.S.

Gypsum Co. v. Ind. Gas Co., 350 F.3d 623, 626 (7th Cir. 2003). Affirmative defenses

typically may not be considered on a motion to dismiss. Brownmark Films, LLC v.

Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012). A motion for judgment on the

pleadings is an appropriate way to raise a res judicata defense. Carr v. Tillery, 591




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F.3d 909, 913 (7th Cir. 2010). Accordingly, the Court reserves judgment on

Defendants’ res judicata affirmative defense, which they may raise again at another

stage in this litigation. The affirmative defense remains viable.

               B.        Defendants’ Rule 12(b)(6) Motion

      Defendants move to Plaintiffs’ defamation and tortious interference of

contract claims (Counts IV to VI) on the grounds that the allegations (i) are time

barred; (ii) are barred by the Illinois Tort Immunity Act (defamation only); and (iii)

fail to state a claim (tortious interference only). [70] at 9–13. Plaintiffs disagree.

                    1.     Statute of Limitations (Counts IV, V, and VI)

      Defendants argue Plaintiffs’ newly asserted tort claims are time barred. [70]

at 11–12. Indeed, the Illinois Tort Immunity Act provides “[n]o civil action . . . may

be commenced in any court against a local entity or any of its employees for any

injury unless it is commenced within one year from the date that the injury was

received or the cause of action accrued.” 745 ILCS 10/8-101. According to

Defendants, the tort claims should have been filed by September 7, 2024 at the

latest—one year after the fire near Raven’s Place. [70] at 11–12.

      The Court declines to dismiss the defamation and tortious inference claims

based on the Tort Immunity Act at this stage of the litigation. “The Illinois Tort

Immunity Act is an affirmative defense, and a plaintiff does not have to plead around

affirmative defenses.” Prokop v. Hileman, 588 F. Supp. 3d 825, 844 (N.D. Ill. 2022);

Sterling v. Bd. of Educ. of Evanston Township High Sch. Dist. 202, No. 19-CV-05599,

2021 WL 809763, at *7 (N.D. Ill. Mar. 3, 2021) (“[The Tort Immunity Act] provides




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affirmative defenses, and plaintiffs generally need not anticipate and overcome

affirmative defenses in their complaint.”). So too with any statute of limitations

defense. U.S. Gypsum, 350 F.3d at 626.

      Dismissal based on an affirmative defense “is appropriate only when the

factual allegations in the complaint unambiguously establish all the elements of the

defense.” Hyson USA, Inc. v. Hyson 2U, Ltd., 821 F.3d 935, 939 (7th Cir. 2016)

(emphasis in original). That is not the case here. Plaintiffs allege Defendant Bilotto

“made an entirely unfounded and inappropriate remark about Thomas starting the

fire at Raven’s Place” at some time “[s]hortly after the September 7 fire.” [64]

¶¶ 122–23. But that statement is not the statements Plaintiffs contend caused their

injury. Instead, those are “accusations,” upon information and belief made by Blue

Island officials “to Mr. Thomas’ insurance carrier alleging Mr. Thomas facilitated or

was involved in the September 7, 2023 fire.” Id. ¶ 124. The precise timeline is not

clear and thus the complaint does not “unambiguously establish all the elements of

the defense.” Hyson USA, 821 F.3d at 939. Defendants may be able to show that they

are able to properly invoke the time bar under the Illinois Tort Immunity Act or

mount any other statute of limitations defense, however, such a determination

which requires the Court to go beyond the allegations in the First Amended

Complaint is premature at the motion to dismiss stage.

      Accordingly, the Court does not need to reach the question of whether the tort

claims relate back to the initial complaint for purposes of tolling the statute of

limitations.




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                  2.     Defamation Claim (Counts IV and V)

      Defendants argue the defamation claims must be dismissed because they are

immune from liability under the Illinois Tort Immunity Act for any allegedly

defamatory statements made. [70] at 9–10. Plaintiffs agree the Act provides any

“local public entity is not liable for injury caused by any action of its employees that

is libelous or slanderous,” 745 ILCS 10/2-107, and public employees acting within

the scope of employment are not liable “for an injury caused by his negligent

misrepresentation,” 745 ILCS 10/2-210. However, Plaintiffs contest that Blue Island

officials were acting in an official capacity when engaging in the alleged defamatory

conduct and argue immunity does not extend to “willful and wanton conduct.” [78]

at 12–13.

      The same reasons the Court declined to dismiss the tort claims on statute of

limitations grounds apply with equal force here. The Tort Immunity Act is an

affirmative defense that Plaintiffs did not have to plead around. Prokop, 588 F.

Supp. 3d at 844. The parties will have the opportunity to test the circumstances of

the alleged defamatory statements through discovery to prove whether the Blue

Island officials were acting within the scope of employment or acting willfully and

wantonly when the alleged statements were made.

                  3.     Tortious Interference of Contract Claim (Count VI)

      Defendants contend Plaintiffs have failed to state a claim for tortious

interference. To state a claim under Illinois law for tortious interference with

contracts, a plaintiff must demonstrate: “(1) the existence of a valid and enforceable




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contract between the plaintiff and another; (2) the defendant’s awareness of this

contractual relation; (3) the defendant’s intentional and unjustified inducement of a

breach of the contract; (4) a subsequent breach by the other, caused by the defendant’s

wrongful conduct; and (5) damages.” Healy v. Met. Pier & Exposition Auth., 804 F.3d

836, 842 (7th Cir. 2015) (quoting HPI Health Care Servs., Inc. v. Mt. Vernon Hosp.,

Inc., 131 Ill. 2d 145, 154–55 (1989)). Defendants challenge the fourth element. [70] at

11–12. Specifically, Defendants argue Plaintiffs failed to plead a breach of contract

by Badger Mutual Insurance based on the Blue Island or Blue Island employees’

allegedly false or misleading statements regarding the fire on the premises. Thus,

Defendants assert, the investigation of the fire and the insurance company’s decision

to deny the claim is not attributable to the City or its employees. [70] at 12.

      Relying on Scholwin v. Johnson, 147 Ill.App.3d 598 (2d Dist. 1986), Plaintiffs

argue interference with a plaintiff’s ability to perform, and not a third party, is

sufficient to state a claim. [78] at 14–14. Since Scholwin, Illinois Appellate Courts

have held otherwise. See, e.g., Schuler v. Abbott Laboratories, 265 Ill.App.3d 991, 995

(1st Dist. 1993) (“While it is true that ‘action directed at a third party’ will often

include contact with the third party, we can find no requirement of contact in the law

and do not create one now.”); Cont’l Mobile Tel. Co., Inc. v. Chi. SMSA Ltd. P’ship,

225 Ill.App.3d 317, 325 (1st Dist. 1992) (“The acts that form the basis of tortious

interference must be directed at parties other than the plaintiff.”); Du Page Aviation

Corp. v. Du Page Airport Auth., 229 Ill.App.3d 793, 804 (2d Dist. 1992) (“Illinois courts

require that a tortious interference claim be supported by allegations that the




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defendant acted toward a third party.”).

      Another court in this Circuit recently addressed how to apply the element at

issue when there are conflicting Illinois appellate decisions, and the Illinois Supreme

Court has not weighed in on the question. Butler v. Holstein Ass’n, USA, Inc., 703 F.

Supp. 3d 927, 940 (C.D. Ill. 2023). There, the court selected the interpretation that

reasonably restricts liability and found that a tortious interference with contract

claim requires a defendant to direct an action toward a third party. Id. (citing Todd

v. Societe Bic, S.A., 21 F.3d 1402, 1412 (7th Cir. 1994)). We agree. Although Plaintiffs

have pleaded actions directed toward a third party, they do not plead the third party

breached a contract with Plaintiffs. And Plaintiffs cannot rely on Defendants’ actions

directed at Plaintiffs that interfered with their performance of the insurance contract.

Accordingly, Plaintiffs have failed to state a claim for tortious interference with

contract.

                                   CONCLUSION

      For the stated reasons, Defendants’ Motion to Dismiss the First Amended

Complaint Under Rules 12(b)(1) and 12(b)(6) [70] is granted as to the tortious

interference with contract claim in Count VI and otherwise denied.



                                              E N T E R:


 Dated: May 15, 2025

                                              MARY M. ROWLAND
                                              United States District Judge




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